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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DONALD BRATTON AND DONALD                       §
MALLARD, INDIVIDUALLY AND AS                    §
REPRESENTATIVE OF THE ESTATE                    §
OF JERVIE MALLARD, SR.,                         §
DECEASED,                                       §
               Plaintiffs                       §
                                                §
vs.                                             §   CIVIL ACTION NO: 4:21-cv-02165
                                                §
UNION PACIFIC RAILROAD                          §   JUDGE CHARLES ESKRIDGE
COMPANY; PASTOR, BEHLING &                      §
WHEELER, LLC; AND                               §
ENVIRONMENTAL RESOURCES                         §
MANAGEMENT SOUTHWEST, INC.,                     §
               Defendants                       §

                   DEFENDANT UNION PACIFIC RAILROAD COMPANY’S
                 RESPONSE TO PLAINTIFFS’ AMENDED MOTION TO REMAND

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       Defendant Union Pacific Railroad Company (“Union Pacific”) files this response to

Plaintiffs’ Amended Motion to Remand. Doc. 29. This Court should deny Plaintiffs’

motion because this Court has subject-matter jurisdiction and this case was properly

removed. Specifically, this Court has subject-matter jurisdiction as follows:

           • Federal-question jurisdiction over Plaintiffs’ Resource
             Conservation and Recovery Act (“RCRA”) citizen suit under 28
             U.S.C. § 1331 and 42 U.S.C. § 6972;

           • Federal-question jurisdiction because there is a substantial federal
             question embedded in Plaintiffs’ state-law cause of action under
             28 U.S.C. § 1331; and

           • Supplemental jurisdiction over Plaintiffs’ state-law claims under
             28 U.S.C. § 1367.

                       I.     Nature and Stage of the Proceeding

       This is a personal-injury and wrongful-death suit seeking damages for alleged

exposure to chemicals. Doc. 1-2. Plaintiffs sued Union Pacific and Defendants Pastor,

Behling & Wheeler, LLC (“PBW”) and Environmental Resource Management Southwest,

Inc. (“ERM”). Doc. 1-2. Plaintiffs also challenge Union Pacific’s permit under the

Resource Conservation and Recovery Act (“RCRA”); therefore, this matter is a RCRA

citizen suit. Doc. 1 at 4-7; 42 U.S.C. § 6972. The case was removed to federal court on

July 2, 2021, based on federal-question jurisdiction. Doc. 1. Plaintiffs filed their original

and amended motions to remand on August 18, 2021. Docs. 28 & 29. The initial

conference will be held on October 7, 2021. Doc. 30.



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                                II.    Statement of Facts

       Plaintiffs sued Union Pacific and the other two Defendants alleging that their

cancers were caused by exposure to “creosote and toxic chemicals” from a Union Pacific

facility in Houston, Texas (the “Site”). 1 Doc. 1-2 at 4-7. Plaintiffs allege that they lived

near the Site and that they were exposed to these chemicals for over 20 years. Doc. 1-2 at

3. Plaintiffs allege that “Union Pacific and its consulting geologists, ERM and PBW, failed

to properly test, remediate, and/or warn of the real risks of creosote exposure to the

residents of Kashmere Gardens and Fifth Ward.” Doc. 1-2 at 5-6.

       In their Petition, Plaintiffs allege personal injury damages and in their Prayer they

request “such other and further relief, both in law and in equity, to which Plaintiffs and

Decedent may show themselves justly entitled.” Doc. 1-2 at 14. All of Plaintiffs’ claims

involve an alleged groundwater plume near a former Southern Pacific facility located at

4910 Liberty Road, Houston, Texas 77026, which is now owned by Union Pacific (the

“Site”). Doc. 1-2 at ¶¶ 18-28. Plaintiffs have brought causes of action against Union


1
  Doc. 1-2 at 4-7. There are currently two Plaintiffs, but Plaintiffs’ counsel has indicated
he will be adding an additional 90 Plaintiffs. Doc. 1-2; Doc. 27 at 3. Plaintiffs’ motion to
remand contains a factual error regarding a separate case filed against Union Pacific in
connection with the Site. Plaintiffs claim that in the Dorsey v. Union Pacific case, Union
Pacific lost its appeal of the order denying its motion to dismiss under the Texas Citizens
Participation Act and that the case is currently before the Texas Supreme Court. Doc. 29
at 8; TEX. CIV. PRAC. & REM. CODE § 27.001, et seq. That is incorrect. Union Pacific’s
appeal in the Dorsey case is still before the Fourteenth Court of Appeals, which has not yet
decided the appeal. Dorsey v. Union Pacific R.R. Co., No. 14-20-00308-CV (Tex. App.—
Houston       [14th     Dist.]),     https://search.txcourts.gov/Case.aspx?cn=14-20-00308-
CV&coa=coa14.
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Pacific and the other Defendants for negligence. Plaintiffs are also alleging respondeat

superior, and are seeking personal-injury, wrongful-death, survival, and exemplary

damages. Doc. 1-2 at ¶¶ 20-26.

       In addition to their Texas state-law negligence claims, Plaintiffs make allegations

and claims that Defendants’ actions constitute violations of RCRA. Doc. 1-2 at ¶¶ 10-13;

Doc. 1-3 at ¶¶ 6-7.     Union Pacific has permits under RCRA related to the Site that

authorize its remediation activities. Doc. 1-12. In their petition, as well as the attached

Declaration of Phillip Bedient, Plaintiffs allege that Union Pacific and the other Defendants

failed to properly remediate alleged creosote contamination. Doc. 1-2 at ¶¶ 10-13; Doc. 1-

3 at ¶¶ 6-7. Plaintiffs also allege that the Defendants’ failure to act creates a cancer risk.

Doc. 1-2 at ¶ 18. The Bedient Declaration alleges that the Defendants have violated

RCRA. 2




2
  42 U.S.C. § 6901 et seq.; Doc. 1-3 at ¶ 6 (“The development and refinement of a
reasonably reliable CSM is a key step in the regulatory process, through either the federal
Resource Conservation and Recovery Act (RCRA) or the state’s Texas Risk Reduction
(TRR) program…. In the work of ERM and PBW, their CSM is static and does not appear
to have changed to any degree since the mid-1990’s, even though additional data was
collected showing their CSM was not accurately representing the key hydrogeologic
features of the site and exposure routes to the surrounding areas.”); Doc. 1-3 at ¶ 7 (“In the
RCRA and TRR process, identification of additional areas of investigation should occur as
the site process progresses and new information becomes available, particularly on
complex sites like this one.… However, here we do not see any changes in the site process
when the SWMUs and AOCs were identified by ERM and PBW for the site.”).
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                                           III.        Issue

       This Court should deny Plaintiffs’ motion to remand because this Court has subject-

matter jurisdiction over this case and this case was properly removed.

                                IV.    Standard of Review

       This Court’s ruling on Plaintiffs’ motion to remand “is not reviewable on appeal or

otherwise.” 28 U.S.C. § 1447(d) (“An order remanding a case to the State court from which

it was removed is not reviewable on appeal or otherwise….”); Powerex Corp. v. Reliant

Energy Services, Inc., 551 U.S. 224, 232 (2007).

                                      V.          Argument

       This Court should deny Plaintiffs’ motion to remand because this Court has subject-

matter jurisdiction over this case, and this case was properly removed.

       A.     Union Pacific properly removed on the basis of RCRA and a substantial
              federal question, not on the basis of complete preemption.

       Plaintiffs base their remand argument on their mistaken belief that Union Pacific

removed this case based on complete preemption. Doc. 29 at 10-11. That is incorrect.

Union Pacific did not remove based on—and is not alleging—complete preemption.

Instead, Union Pacific removed based on the fact that in their petition Plaintiffs alleged the

elements of a RCRA citizen suit, as well as Texas state-law negligence claims. 3




3
 Doc. 1 at 4-7. Union Pacific also removed based on a substantial federal question
embedded in a state-law cause of action. Doc. 1 at 7-9.
                                                   4
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         Under complete preemption, “a federal statute wholly displaces the state-law cause

of action.” Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 8 (2003). Under complete

preemption, “a claim which comes within the scope of that cause of action, even if pleaded

in terms of state law, is in reality based on federal law.” Id. The Supreme Court has held

that complete preemption applies in only a few, limited areas, such as ERISA and the Labor

Management Relations Act. Aetna Health Inc. v. Davila, 542 U.S. 200, 209 (2004)

(complete preemption applies to the Labor Management Relations Act, 29 U.S.C. § 185,

et seq., and the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C.

§ 1001, et seq.). Complete preemption does not apply to RCRA. See Mississippi ex rel.

Hood v. Meritor, Inc., 4:17CV74-SA-JMV, 2018 WL 1309722, at *6 (N.D. Miss. Mar. 13,

2018).

         Under complete preemption, the plaintiff’s state-law claims are converted into

federal claims. Davila, 542 U.S. at 209; Lone Star OB/GYN Associates v. Aetna Health

Inc., 579 F.3d 525, 529 (5th Cir. 2009). When complete preemption applies, a plaintiff

cannot bring state-law claims. Davila, 542 U.S. at 209; Lone Star, 579 F.3d at 529.

         In the case before the Court, Plaintiffs contend that Union Pacific is arguing that

Plaintiffs cannot bring their Texas state-law negligence claims because those claims are

allegedly completely preempted. 4 Union Pacific is not making a complete preemption



4
 Doc. 29 at 10. Plaintiffs’ reliance on the district court opinion in Salvation Army v. Union
Pacific is misplaced. Doc. 29 at 7, 18; Salvation Army v. Union Pac. R.R., Inc., 6:16-CV-

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argument. Union Pacific agrees that Plaintiffs’ state-law negligence claims are not barred

by RCRA and that Plaintiffs can still bring those claims in this Court. In its notice of

removal, Union Pacific expressly recognized that Plaintiffs could still bring their state-law

negligence claims and that this Court has supplemental jurisdiction over those state-law

claims. Doc. 1 at 8.

       B.      This Court has subject-matter jurisdiction over Plaintiffs’ claims.

       This Court has subject-matter jurisdiction over this case and this case was properly

removed; therefore, Plaintiffs’ motion to remand should be denied.

               1.      Plaintiffs alleged a RCRA citizen suit, so this Court has federal-
                       question jurisdiction.

       This Court has jurisdiction over this case because Plaintiffs alleged a RCRA citizen

suit. Under RCRA’s citizen-suit provisions:

            • Any person may sue another person for alleged “violation of any
              permit, standard, regulation, condition, requirement, prohibition,
              or order which has become effective pursuant to” RCRA, 42
              U.S.C. § 6972(a)(1)(A); and

            • Any person may sue a past or present owner of a treatment,
              storage, or disposal facility regarding “an imminent and
              substantial endangerment to health or the environment.” 42
              U.S.C. § 6972(a)(1)(B).




0347, 2016 WL 5798987 (W.D. La. June 23, 2016), report and recommendation adopted,
CV 16-0347, 2016 WL 5798791 (W.D. La. Oct. 4, 2016). In that case, Union Pacific did
argue that there was complete preemption. Salvation Army, 2016 WL 5798987, at *2. But
Union Pacific is not making that argument here. Doc. 1.
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       Plaintiffs’ petition meets the requirements of a RCRA citizen suit under both

provisions because Plaintiffs are specifically (1) suing Union Pacific and the other

Defendants for violating RCRA, and (2) suing Union Pacific, which is the property owner,

for allegedly creating a cancer risk. Doc. 1-2 at ¶¶ 10-13, 18; Doc. 1-3 at ¶¶ 6-7.

       Plaintiffs’ declaration from Phillip Bedient—attached as an exhibit to Plaintiffs’

state-court petition—alleges that Defendants violated a RCRA permit. Bedient states that

preparation of a “Conceptual Site Model” (“CSM”) “is a key step” in the RCRA regulatory

process. Doc. 1-3 at ¶ 6.   Bedient expressly states that the companies that Union Pacific

retained to provide engineering services regarding the Site did not create a proper CSM.

Doc. 1-3 at ¶¶ 6, 9. Bedient contends that the alleged failure to create a proper CSM

resulted in an improper cleanup process under RCRA. Doc. 1-3 at ¶ 7. Bedient and

Plaintiffs unequivocally allege that Union Pacific and the other Defendants violated RCRA

permits, standards, regulations, conditions, and requirements regarding the Site. 42 U.S.C.

§ 6972(a)(1)(A); Doc. 1-2; Doc. 1-3. Plaintiffs’ petition, therefore, qualifies as a RCRA

citizen suit. 42 U.S.C. § 6972(a)(1).

       In addition, Plaintiffs are asserting a claim against Defendants for the following:

          “Causing, allowing, and permitting the collection, handling, storage,
          processing, and disposal of industrial solid waste [and hazardous
          waste] in such a manner, so as to cause: 1) The creation and
          maintenance of a nuisance; or 2) The endangerment of the public
          health and welfare.”




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Doc. 1-2 at ¶¶ 20(o)-(p). These allegations also assert claims against the Defendants under

RCRA. Plaintiffs are suing Defendants for the past or present handling, storage, treatment

or disposal of any solid or hazardous waste that allegedly presents an imminent and

substantial endangerment to health or the environment, which makes this a RCRA citizen

suit. 42 U.S.C. § 6972(a)(1)(B).

       Plaintiffs’ petition qualifies as a RCRA citizen suit even though they couch the suit

as a personal-injury suit because they allege violations of RCRA. Federal courts look to

the substance of a plaintiff’s claims and not the title that a plaintiff uses when determining

the claims that a plaintiff is actually alleging. 5 Because Plaintiffs’ allegations fall within

the provisions of a RCRA citizen suit and they have specifically alleged violations of the

RCRA federal statute, they are considered to be bringing a RCRA citizen suit.




5
  Cahill v. New York, N. H. & H. R. Co., 351 U.S. 183, 188 (1956) (“The substance of the
pleadings and not their labels should govern our action.”); Edwards v. City of Houston, 78
F.3d 983, 995 (5th Cir. 1996) (en banc) (in construing pleadings, federal courts look to the
“substance, not a label”); Armstrong v. Capshaw, Goss & Bowers, LLP, 404 F.3d 933, 936
(5th Cir. 2005) (The Fifth Circuit has “instructed district courts to determine the true nature
of a pleading by its substance, not its label.”); United States v. Gomez-Rosales, CR 2:09-
1046-5, 2016 WL 4246994, at *2 (S.D. Tex. Aug. 10, 2016) (“Because the essence of the
pleading controls, the title may be ignored.”); In re Dexterity Surgical, Inc., 365 B.R. 690,
701 (Bankr. S.D. Tex. 2007) (“This Court has repeatedly recognized that the Fifth Circuit
instructs courts to the look to substance of pleadings rather than the labels stated in
pleadings in determining what relief the movant seeks.”).
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       Under 42 U.S.C. § 6972, federal courts have exclusive jurisdiction over RCRA

citizen suits. 6 This Court, therefore, has federal-question and exclusive jurisdiction over

this case under 28 U.S.C. § 1331 and 42 U.S.C. § 6972.

                     a.     Union Pacific’s permit at issue is a federal RCRA permit.

       Congress has authorized states to administer federal RCRA permits with the

approval of the federal Environmental Protection Agency (“EPA”). 42 U.S.C. § 6926;

Doc. 1-2 at ¶¶ 10-13, 18; Doc. 1-3 at ¶¶ 6-7. Since 1984, the EPA has authorized the State

of Texas to administer federal RCRA permits in the state. 40 C.F.R. § 272.2201(a). Union

Pacific has federal RCRA permits for the Site issued by the Texas Commission on

Environmental Quality (“TCEQ”). Doc. 1-12.

       Plaintiffs contend that the permit at issue here is not a federal RCRA permit, but is

instead a Texas state permit. Doc. 29 at 20-21. Plaintiffs’ assertion is incorrect. The

permit in question is a federal RCRA permit that the EPA has authorized the State of Texas

to administer through the TCEQ. The permit itself makes clear that it is a RCRA permit

and that “permit noncompliance” “constitutes a violation of RCRA.” Doc. 1-12 at 12.



6
  42 U.S.C. § 6972 (“Any action under paragraph (a)(1) of this subsection shall be brought
in the district court for the district in which the alleged violation occurred or the alleged
endangerment may occur.”); see also Litgo New Jersey Inc. v. Comm’r New Jersey Dep’t
of Envtl. Prot., 725 F.3d 369, 394 (3d Cir. 2013) (“The overwhelming majority of courts
that have addressed this issue have read this provision to confer exclusive jurisdiction on
federal courts, based on the statute’s instruction that RCRA claims ‘shall be brought’ in a
‘district court.’”); K-7 Enterprises, L.P. v. Jester, 562 F. Supp. 2d 819, 827 (E.D. Tex.
2007) (“federal district courts have exclusive jurisdiction over RCRA citizen suits”).
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       The presence or absence of asterisks does not decide federal jurisdiction in this case.

The nature of the claims that Plaintiffs chose to assert establishes federal jurisdiction.

Plaintiffs base their argument that this is not a federal RCRA permit because there are no

asterisks on the permit. Doc. 29 at 21; Doc. 1-12 at 8. But the asterisks address whether

the permit is based on federal provisions “for which the Texas Commission on

Environmental Quality has not been authorized.” Doc. 1-12 at 8. As the EPA explains,

“the authorization status of states affects which provisions can be addressed in their state’s

RCRA hazardous waste permit and may sometimes call for a joint permit from EPA to

address the provisions for which the state is not authorized.” EPA, What is a Hazardous

Waste Permit?, https://www.epa.gov/hwpermitting/what-hazardous-waste-permit. In that

situation, the permit would have asterisks indicating that those provisions were being

administered by the EPA and not the TCEQ. Doc. 1-12 at 8. The permit at issue in this

case was one where the EPA has authorized the State of Texas to administer through the

TCEQ, so there are no asterisks indicating that TCEQ is not authorized to administer the

permit. Doc. 1-12 at 8. Regardless whether the TCEQ or EPA administers the permit, it

is still issued pursuant to RCRA, triggering federal jurisdiction under 28 U.S.C. § 1331 and

exclusive federal jurisdiction under 42 U.S.C. § 6972.




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                        b.    Plaintiffs’ failure to comply with RCRA’s citizen-suit
                              notice requirement does not deprive this Court of
                              jurisdiction.

       The fact that Plaintiffs did not comply with RCRA’s citizen-suit notice requirement

does not deprive this Court of jurisdiction over Plaintiffs’ RCRA citizen suit. See Doc. 29

at 18-20. The Fifth Circuit has held that notice requirements under other environmental

statutes are not jurisdictional. Lockett v. E.P.A., 319 F.3d 678, 682 (5th Cir. 2003) (Clean

Water Act citizen-suit notice provision not jurisdictional); Sierra Club v. Yeutter, 926 F.2d

429, 437 (5th Cir. 1991) (Endangered Species Act citizen-suit notice provision not

jurisdictional); see also Melton Properties, LLC. v. Illinois Cent. R.R. Co., 4:18-CV-79-

DMB-JMV, 2020 WL 5806890, at *4 (N.D. Miss. Sept. 29, 2020) (RCRA citizen-suit

notice provision not jurisdictional). The citizen-suit notice requirement under RCRA is

analogous to these other statutes, and the Fifth Circuit’s holdings in Lockett should be

applied in this case.

       Therefore, Plaintiffs’ failure to provide notice does not deprive this Court of

jurisdiction over their RCRA citizen-suit claims.

              2.        This Court also has federal-question jurisdiction because a
                        substantial federal question is embedded in a state-law cause of
                        action.

       This Court also has jurisdiction over this case because it involves a substantial

federal question embedded in a state-law cause of action. Merrill Lynch, Pierce, Fenner

& Smith Inc. v. Manning, 136 S. Ct. 1562, 1570 (2016); Gunn v. Minton, 568 U.S. 251,

258 (2013). The Supreme Court has held that in addition to cases where federal law creates
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a cause of action, there is also federal-question jurisdiction over “a state-law claim if it

necessarily raises a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal

and state power.” Merrill Lynch, 136 S. Ct. at 1570 (quoting Grable & Sons Metal

Products, Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005)) (cleaned up).

       The Supreme Court has held that there is substantial-federal-issue jurisdiction over

a state-law claim when the federal issue is:

          1. Necessarily raised;

          2. Actually disputed;

          3. Substantial; and

          4. Capable of resolution in federal court without disrupting the
             federal-state balance approved by Congress.

Gunn v. Minton, 568 U.S. 251, 258 (2013); Grable & Sons, 545 U.S. at 314.

       Each of those elements is met here, so there is substantial-federal-issue jurisdiction

over Plaintiffs’ state-law negligence claims:

          • Whether the Defendants violated RCRA is necessarily raised
            because Plaintiffs’ state-law negligence claims allege violations of
            RCRA. Doc. 1-2 at ¶¶ 10-13; Doc. 1-3 at ¶¶ 6-9.

          • Whether the Defendants violated RCRA is actually disputed
            because the Defendants deny that they have violated RCRA. Doc.
            1-11; Doc. 1-12; Doc. 1- 13; Doc. 1-14.

          • Whether the Defendants violated RCRA is a substantial part of
            Plaintiffs’ claims against the Defendants because Plaintiffs base
            their negligence claims on that allegation, even attaching a


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              declaration to their petition making that allegation. Doc. 1-2 at 8-
              11; Doc. 1-3.

          • Whether the Defendants violated RCRA is capable of resolution
            in federal court without disrupting the federal-state balance
            approved by Congress. Congress gave federal courts exclusive
            jurisdiction over suits regarding alleged RCRA violations, so it has
            indicated that this is an area where the federal-state balance weighs
            heavily in favor of federal involvement. 42 U.S.C. § 6972. Few
            personal-injury lawsuits raise RCRA violations to support their
            negligence claims, so federal courts resolving the RCRA issues
            here will not disrupt the federal-state balance approved by
            Congress. See Grable & Sons, 545 U.S. at 319.

       This Court, therefore, has federal-question jurisdiction over this case under 28

U.S.C. § 1331 and 42 U.S.C. § 6972 because Plaintiffs’ claims of RCRA violations create

a substantial federal question embedded in a state-law cause of action.

              3.     This Court has supplemental jurisdiction over Plaintiffs’ state-
                     law claims.

       Because this Court has federal-question jurisdiction over this case under 28 U.S.C.

§ 1331, it also has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiffs’ state-

law claims. Under 28 U.S.C. § 1367(a), “in any civil action of which the district courts

have original jurisdiction, the district courts shall have supplemental jurisdiction over all

other claims that are so related to claims in the action within such original jurisdiction that

they form part of the same case or controversy under Article III of the United States

Constitution.”

       As explained above, this Court has original jurisdiction over this case under 28

U.S.C. § 1331 because Plaintiffs alleged the elements of a RCRA citizen suit and because

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Plaintiffs’ claims of RCRA violations create a substantial federal question embedded in a

state-law cause of action. This Court, therefore, has supplemental jurisdiction over

Plaintiffs’ state-law claims.

                                    VI.    Conclusion

       This Court should deny Plaintiffs’ motion to remand because this Court has subject-

matter jurisdiction and this case was properly removed. Specifically, this Court has subject

matter jurisdiction as follows:

           • Federal-question jurisdiction over Plaintiffs’ Resource
             Conservation and Recovery Act (“RCRA”) citizen suit under 28
             U.S.C. § 1331 and 42 U.S.C. § 6972;

           • Federal-question jurisdiction because there is a substantial federal
             question embedded in Plaintiffs’ state-law cause of action under
             28 U.S.C. § 1331; and

           • Supplemental jurisdiction over Plaintiffs’ state-law claims under
             28 U.S.C. § 1367.




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                                Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing
instrument was served on the following through ECF on September 7, 2021.

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